          Case 2:19-cr-00304-WQH-VCF Document 301 Filed 07/12/22 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                                   DISTRICT OF NEVADA
10
11   UNITED STATES OF                                    Case No.: 2:19-cr-00304-WQH-VCF
     AMERICA,
12
                                        Plaintiff,       ORDER
13
     v.
14
     LATONIA SMITH,
15
                                      Defendant.
16
17   HAYES, Judge:
18         IT IS HEREBY ORDERED that the Status Conference set for July 21, 2022 is
19   vacated and reset to September 8, 2022, at 1:00 PM. The Status Conference on September
20   8, 2022 shall be conducted by videoconference. No later than September 1, 2022, all
21   participating counsel shall email efile_Hayes@casd.uscourts.gov to notify the Court of the
22   email address(es) of the attorneys/parties appearing by video. The Court will provide the
23   attorneys/parties with instructions for joining the videoconference before the hearing.
24
25   Dated: July 12, 2022
26
27
28

                                                     1
                                                                             2:19-cr-00304-WQH-VCF
